                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:10-00163
                                                      )       Judge Trauger
[1] LONNIE NEWSOME                                    )
[4] TIM ALLEN                                         )
[5] ANTHONY BROOKS                                    )
[6] ANTHONY LUMPKINS                                  )
[10] DESHAUNE JONES                                   )
[23] SHAWN HOWELL                                     )
[27] KEAIRUS WILSON                                   )
[28] MONTEZ HALL                                      )
[29] CEDRIC WOODS                                     )
[30] RONDARIUS WILLIAMSON                             )

                                            ORDER

       Several defendants have filed or adopted Motions to Compel Notice of Intent to Offer

Evidence of Other Crimes, Wrongs or Acts (Docket Nos. 786, 802, 809, 847, 882, 896). The

government has filed a Response (Docket No. 975), and defendants Wilson and Williamson have

filed a Joint Reply (Docket No. 1035).

       In the interest of judicial economy for this trial, already projected to take at least two

months, and in the interest of fairness, the motions are GRANTED. It is hereby ORDERED

that the government shall produce to the ten defendants listed above, who are going to trial, by

January 9, 2012, a list of any crimes the government intends to prove in its case-in-chief at trial

that are not expressly set forth in a substantive count or one of the 146 overt acts alleged in the

Superseding Indictment, with a designation as to the purpose for which that evidence is offered.

If motions in limine are addressed to this evidence of other crimes, the court will engage in the



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familiar analysis required for the admission of this material under Rule 404(b), FED. R. EVID.

United States v. Bell, 516 F.3d 432, 440-47 (6th Cir. 2008); United States v. Merriweather, 78

F.3d 1070 (6th Cir. 1996).

       It is so ORDERED.

       ENTER this 4th day of January 2012.



                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                            U.S. District Judge




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